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   13                              UNITED STATES DISTRICT COURT
   14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
   15

   16   CORINTHIA MIMS,                                )    Case No.: 5:19-CV-00435-JGB-SP
                                                       )
   17                                                  )
                      Plaintiff,                       )    [PROPOSED] ORDER GRANTING
   18                                                  )
                                                            PLAINTIFFS’ MOTION TO EXTEND
               vs.                                     )
   19                                                  )    THE TIME TO RESPOND TO
                                                       )    COMPLAINT UNTIL JULY 15, 2019
   20   PRIME CONSULTING LLC d/b/a                     )
        FINANCIAL PREPARATION SERVICES                 )    [Local Rule 144(a)]
   21                                                  )
                      Defendant.                       )
   22                                                  )
                                                       )
   23                                                  )

   24

   25          The Court, having reviewed and considered the parties’ Stipulation for Extension of

   26   Time, and good cause having been shown, hereby GRANTS an extension of time for the
   27
        Defendant to respond to the Complaint.
   28



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                                                 PROPOSED ORDER
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    1
        DATED: JUNE __, 2019
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    3   IT IS SO ORDERED.

    4                                     ______________________________
    5
                                          Jesus G. Bernal
                                          UNITED STATES DISTRICT JUDGE
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                                      PROPOSED ORDER
